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32030 (Form 2030) (12/15)
United States Bankruptcy Court
Western District of Michigan

Michae| D. Summerfie|d
ln re christine ivl. summerfield case No.

 

Debtor(s) Chapter 7

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

l. Pursuant to ll U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify thatl am the attorney for the above named debtor(s) and that
compensation paid to me Withiri one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for Services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection With the bankruptcy case is as follows:

 

 

For legal services, l have agreed to accept _ $ v 950.00
Prior to the filing of this statement I have received $ 950.00
Balance Due $ 0.00

 

2. The source of the compensation paid to me was:

l Debtor l:l Other (specify):

3. The source of compensation to be paid to me is:

- Debtor l:l Other (specify):

4. - I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

l'_'l Ihave agreed to share the above-disclosed compensation with a person or persons Who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached

5. In return for the above-disclosed fee, l have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;

.Preparation and filing of any petition, schedules, statement of affairs and plan Which may be required;

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

.[Other provisions as needed]
Debtors have agreed to pay Rayman & Knight the hourly rates for work performed` in excess of the amount
referenced above: $310. 00 for Steven L. Raymn; $250. 00 for Cody H. Knight and $125. 00 for paralega|. These
rates are subject to year|y' lncreases.

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6. By agreement With the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judici ien avoidances, relief from stay actions,
contested matters or any other adversary proceeding. '

CERTIFICATION

l certify that the foregoing is a complete statement of any agreement or
this bankitiptcy proceeding

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pate codyH HKnight (P64811)
» Szonatu/ of Atto) ney
Rayman & Knight
141 E. Michigan Avenue
Suite 301
Kalamazoo, Ml 49007

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ent to me for representation of/the debtor(s) in

 

 

 

 

v Name of law firm

 

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